Case 2:21-cv-04569-JAK-KS              Document 67 Filed 05/01/24              Page 1 of 1 Page ID
                                             #:437



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                                            CASE NUMBER:


UNITED STATES OF AMERICA                                      2:21−cv−04569−JAK−KS
                                            Plaintiff(s),

         v.
REAL PROPERTY LOCATED IN MALIBU,
CALIFORNIA                                                  ORDER IN RESPONSE TO NOTICE TO FILER
                                          Defendant(s).
                                                             OF DEFICIENCIES IN FILED DOCUMENT




In accordance with the Notice to Filer of Deficiencies in Filed Document
REGARDING:
                                                                       Acquisition or Abandonment of
   04/23/2024                     65                                 Secured Property
 Date Filed                     Document. No.                        Title of Document.
IT IS HEREBY ORDERED:
       The document is stricken .




 DATED: May 1, 2024                                          /s/ John A. Kronstadt
                                                            United States District Judge




G−112B (08/22)   RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
